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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Grabit, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1042 N Higley Road, #102178
                                  Mesa, AZ 85205
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Maricopa                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.grabitinc.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-12703-LSS                 Doc 1         Filed 12/18/19              Page 2 of 19
Debtor    Grabit, Inc.                                                                                  Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5417

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




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                                Case 19-12703-LSS                      Doc 1      Filed 12/18/19             Page 3 of 19
Debtor   Grabit, Inc.                                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                 1-49                                           1,000-5,000                               25,001-50,000
                                 50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                             □ Check if this an
                                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy__________4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document. Instructions for Bankruptcy Forms for Non-Individuals, is available.

mmil^equ^t for Relief, Declaration, and Signatures                                                                                           ______________

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      December 18, 2019
                                                   MM/DD/YYYY

                                                                                                          Greg Miller
                                  Signature of authorized representative of debtor                        Printed name

                                  Title   Chief Executive Officer__________




                                                                                                           Date December 18, 2019
 18. Signature of attorney
                                  Signatureof attorney for debtor'                                              MM/DD/YYYY

                                  G. David Dean
                                  Printed name

                                  Cole Schotz P.C.
                                  Firm name

                                  500 Delaware Avenue, Suite 1410
                                  Wilmington. DE 19801
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      302-652-3131                 Email address     ddean@coleschotz.com


                                  Bar No. 6403 DE
                                  Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 1
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                                CORPORATE RESOLUTIONS

                            OF THE BOARD OF DIRECTORS OF

                                          GRABIT, INC.


       The undersigned members of the Board of Directors (the “Board”) of Grabit, Inc. (the
“Company”), having conducted a meeting of the Board on December 15, 2019, hereby authorize
and consent to taking the following actions and adopt the following resolutions:

NOW, THEREFORE BE IT:

                 RESOLVED, that in the judgment of the Board it is desirable and in the best
         interests of the Company, its creditors, and its stockholders that the Company seek relief
         under the provisions of Chapter 11, Title 11 of the United States Code (the “Bankruptcy
         Code”); and it is further

                 RESOLVED, that Greg Miller (the “Authorized Party”) shall be, and hereby is,
         authorized and directed on behalf of the Company to commence a case under Chapter 11
         of the Bankruptcy Code (the “Chapter 11 Case”) by executing, verifying and delivering a
         voluntary petition in the name of the Company under Chapter 11 of the Bankruptcy Code
         and causing the same to be filed with the United States Bankruptcy Court for the District
         of Delaware (the “Bankruptcy Court”) in such form and at such time as the Authorized
         Party executing said petition shall determine, with advice of counsel; and it is further

                 RESOLVED, that the Authorized Party shall be, and hereby is, authorized,
         directed, and empowered, on behalf of and in the name of the Company, to take all actions
         necessary or appropriate for the Company to obtain post-petition financing (the “Post-
         Petition Financing”) according to the terms negotiated by the Authorized Party, including
         under one or more debtor-in-possession credit facilities in amounts determined appropriate
         by such Authorized Party, and to effectuate the foregoing, to enter into such loan
         agreements, other debt-related documents, notes, security agreements, pledge agreements
         and all other documents, agreements or instruments (collectively, the “Credit Documents”)
         as may be deemed necessary or appropriate by the Authorized Party; and it is further

                 RESOLVED, that the Company be, and hereby is, authorized to borrow the Post-
         Petition Financing under and in accordance with the Credit Documents in the manner and
         amounts determined appropriate by the Authorized Party; and it is further

                 RESOLVED, that the Authorized Party hereby is authorized, empowered, and
         directed, in the name and on behalf of the Company to take and perform any and all further
         acts and deeds which he deems necessary, proper, or desirable in connection with the
         Chapter 11 Case, with a view to the successful prosecution of such case including, without
         limitation, filing a Chapter 11 Plan of Reorganization to accomplish reorganization
         objections consistent with the Term Sheet negotiated with BPG International Finance Co.
         LLC (“BPG”), SRI International, the Company’s convertible noteholders, and preferred
         and common shareholders of the Company; and it is further



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                 RESOLVED, that the Authorized Party be, and hereby is, authorized, directed, and
         empowered, with full power of delegation, on behalf of and in the name of the Company,
         to execute, verify, and/or file, and to cause to be executed, verified, and/or filed, and to
         direct others to execute, verify, and/or file on their behalf as provided herein, and to amend,
         supplement, or otherwise modify from time to time all necessary or appropriate documents,
         including, without limitation, petitions, affidavits, schedules, motions, lists, applications,
         pleadings and other documents, agreements, and papers, including all Credit Documents;
         and to take any and all actions which the Authorized Party deems necessary or appropriate,
         including the incurrence of indebtedness and the grant of security interests and pledges;
         each in connection with the Chapter 11 Case, any post-petition financing, or any other
         matter in connection with the Chapter 11 Case; and it is further

                 RESOLVED, that the retention of the law firm of Cole Schotz P.C. as counsel to
         the Company is hereby approved, for the firm to render legal services to, and to represent
         the Company in connection with the prosecution of the Company’s Chapter 11 Case and
         any other related matters in connection therewith, on such terms as the Authorized Party
         shall approve; and it is further

                 RESOLVED, that the Authorized Party be, and hereby is, authorized, directed, and
         empowered, on behalf of and in the name of the Company, to employ and retain such other
         legal, restructuring, financial, accounting, and bankruptcy services firms (together with
         Cole Schotz P.C., the “Professionals”) as may be deemed necessary or appropriate by the
         Authorized Party to assist the Company in carrying out its responsibilities in the Chapter
         11 Case; and it is further

                 RESOLVED, that the Authorized Party be, and hereby is, authorized, with full
         power of delegation, in the name and on behalf of the Company, to take or cause to be
         taken any and all such further action and to execute and deliver or cause to be executed or
         delivered, and to amend, supplement, or otherwise modify from time to time, all such
         further agreements, documents, certificates, statements, notices, undertakings, and other
         writings, and to incur and to pay or direct payment of all such fees and expenses, as in their
         judgment shall be necessary, appropriate or advisable to effectuate the purpose and intent
         of any and all of the foregoing resolutions; and it is further

                  RESOLVED, that all acts lawfully done or actions lawfully taken by any current
         officer of the Company or any Professional in connection with the Chapter 11 Case or any
         proceedings related thereto, or any matter related thereto, be, and hereby are, adopted,
         ratified, confirmed, and approved in all respects as the acts and deeds of the Company; and
         it is further

                RESOLVED, that any and all actions, whether previously or subsequently taken
         by the Authorized Party or any other person authorized to act by an Authorized Party,
         which are consistent with the intent and purpose of the foregoing resolutions or in
         connection with any matters referred to herein, shall be, and the same hereby are, in all
         respects, ratified, approved, and confirmed.


        IN WITNESS WHEREOF, the undersigned have executed these resolutions as of the
date set forth below.

                                                   2
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 Date: December 17, 2019
                                              _____________________________________
                                              Greg Miller


                                              _____________________________________
                                              Tim Jenks


                                              _____________________________________
                                              Haitao Zhang

                                              Being all of the members of the Board of
                                              Directors of Grabit, Inc.




                                              3
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 Fill in this information to identify the case:
 Debtor name Grabit, Inc.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                     Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Formation8 Partners             Jim Kim                         Note Holder                                                                                          $6,727,787.71
 Fund I, L.P.
 Pier 5                          jim@builders.vc
 Suite 101                       415-692-1720
 San Francisco, CA
 94111
 NIKE, Inc.                      Tyler Zara                      Note Holder                                                                                          $2,024,743.81
 Attn: Neal
 Osterhaus                       Tyler.Zara@nike.co
 One Bowerman                    m
 Drive                           469-203-9931
 Beaverton, OR
 97005-6453
 ABB Switzerland                 Kurt Kaltenegger                Note Holder                                                                                          $1,717,688.27
 Ltd.
 Attn: Andrea Luthy              kurt.kaltenegger@c
 c/o ABB Schweiz                 h.abb.com
 AG Technology                   +41-79-382-92-35
 Ventures
 Kreuzweg 11
 Baden, CH-5400
 Switzerland
 Korvis LLC                      Rich Carone      Pre-Paid Royalty                                                                                                    $1,160,000.00
 2121 NE Jack                                     under
 London Street                   RichC@korvis.com Manufacturing
 Corvallis, OR 97330             541-740-8492     Agreement
 Draper Nexus                    Q Motiwala       Note Holder                                                                                                         $1,068,675.89
 Technology
 Partners, LP                    q@dnx.vc
 Attn: Q. Motiwala,              858-449-4173
 Manager
 55 East Third
 Avenue
 San Mateo, CA
 94401




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Grabit, Inc.                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Shanghai Electric               Terry Yao                       Note Holder                                                                                            $933,700.69
 Hong Kong Co. Ltd.
 Attn: Mr. Yinlun Lu             yaojm@shangai-el
 7F, No. 212                     ectric.com
 Jiang Ning Road                 +86-21-52895555-9
 Shanghai 200041,                10
 China
 Brother Industries,             Kunihiro Yasui                  Note Holder                                                                                            $933,700.69
 Ltd.
 Attn: New Business              kunihiro.yasui@br
 Development Dept.,              other.co.jp
 Manager, Mr.                    +81-90-5850-1009
 Kunihiro Yasui
 15-1 Naeshiro-cho,
 Mizuho-ku,
 Nagoya 467-8561,
 Japan
 Advance Manage                  Wesley Choi                     Note Holder                                                                                            $874,026.74
 Limited
 Attn: John Huk-tau              ChoiW@esquel.co
 Cheh                            m
 P.O. Box 957                    +852 2811 8077
 Offshore
 Incorporations
 Centre, Road Tow
 Tortola, British
 Virgin Islands
 SRI International               David                           Note Holder                                                                                            $615,750.00
 Attn: David                     Stringer-Calvert
 Stringer-Calvert
 333 Ravenswood                  david.stringer-calv
 Avenue                          ert@sri.com
 Menlo Park, CA                  650-859-3291
 94025
 Danhua Capital L.P.             Kevin Ding                      Note Holder                                                                                            $466,859.87
 Attn: Kevin Ding
 435 Tasso St.                   kevin@danhuacap.
 Suite 305                       com
 Palo Alto, CA 94301             650-862-4928
 Draper Nexus                    Q Motiwala       Note Holder                                                                                                           $203,557.20
 Partners, LLC
 Attn: Q. Motiwala,              q@dnx.vc
 Manager                         858-449-4173
 55 East Third
 Avenue
 San Mateo, CA
 94401
 Greg Miller                     Greg Miller         Transition Plan                    Contingent                                                                        $72,000.00
 1042 N Higley Road,                                 and Release
 #102178                         greg.miller@grabiti Agreement
 Mesa, AZ 85205                  nc.com
                                 707-888-1556


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Grabit, Inc.                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 WS Investment                   Rob Kornegay                    Note Holder                                                                                              $58,265.44
 Company, LLC
 (2017A)                         RKornegay@wsgr.
 Attn: Jim Terranova             com
 650 Page Mill Road              650-400-2468
 Palo Alto, CA 94304
 Harsha Prahlad                  Harsha Prahlad                  Consulting                                                                                               $32,516.00
 17372 NE 46th Court                                             Agreement
 Redmond, WA                     Harsha.Prahlad@gr
 98052                           abitinc.com
                                 408-836-1495
 County of Santa                 Larry Stone         Property Tax                       Disputed                                                                            $5,303.00
 Clara                                               Audit 2015-2018
 1555 Berger Drive               scctax.collector@fi
 San Jose, CA 95112              n.sccgov.org
                                 408-808-7900
 Rowan TELS LLC                  Kyle Libra          Vendor                                                                                                                 $1,000.00
 4715 NE 142nd
 Street                          klibra@rowantels.c
 Vancouver, WA                   om
 98686                           206-376-9114




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                          District of Delaware
 In re      Grabit, Inc.                                                                                   Case No.
                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 ABB Switerzland Ltd.                                                               1,106,194                         Series B Preferred Stock
 Attn: Andrea Luthy
 c/o ABB Schweiz AG Technology Ventures
 Kreuzweg 11
 Baden, CH-5400 Switerzland

 ABB Switzerland Ltd.                                                               2,777,776                         Series A Preferred Stock
 Attn: Andrea Luthy
 c/o ABB Schweiz AG Technology Ventures
 Kreuzweg 11
 Baden, CH-5400 Switerzerland

 Advance Manage Limited                                                             1,659,292                         Series B Preferred Stock
 Attn: John Huk-tau Cheh
 P.O. Box 957
 Offshore Incorporations Centre, Road Tow
 Tortola, British Virgin Islands

 Andrew Mesfin                                                                      39,770                            Common Stock
 2966 Moorpark Avenue
 Apt 60
 San Jose, CA 95128

 Brothers Industries, Ltd.                                                          2,212,389                         Series B Preferred Stock
 Attn: New Business Development Dept.
 Manager, Mr. Kunihiro Yasui
 15-1 Naeshiro-cho, Mizuho-ku
 Nagoya 467-8561, Japan

 Casey M. Duncheon                                                                  200,000                           Common Stock
 c/o Charlie Duncheon
 19384 Bainter Avenue
 Los Gatos, CA 95030

 Charlie Duncheon                                                                   2,553,750                         Common Stock
 19384 Bainter Avenue
 Los Gatos, CA 95030

 Chau Chavez                                                                        20,000                            Common Stock
 1463 Bellemeade Street
 San Jose, CA 95131

 Dagney R. Duncheon                                                                 200,000                           Common Stock
 c/o Charlie Duncheon
 19384 Bainter Avenue
 Los Gatos, CA 95030



Sheet 1 of 5 in List of Equity Security Holders
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 In re:    Grabit, Inc.                                                                          Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities       Kind of Interest
 business of holder

 Danhua Capital L.P.                                                                1,106,194                  Series B Preferred Stock
 Attn: Kevin Ding
 435 Tasso Street
 Suite 305
 Palo Alto, CA 94301

 DOCOMO Innovation Fund Partnership                                                 1,106,194                  Common Stock
 Attn: Takashi Suzuki
 3301 Hillview Avenue
 Palo Alto, CA 94301

 Draper Nexus Partners, LLC                                                         316,734                    Series B Preferred Stock
 Attn: Q. Motiwala, Manager
 55 East Third Avenue
 San Mateo, CA 94401

 Draper Nexus Technology Partners, LP                                               1,662,859                  Series B Preferred Stock
 Attn: Q. Motiwala, Manager
 55 East Third Avenue
 San Mateo, CA 94401

 Eric Winger                                                                        30,000                     Common Stock
 15401 W Sampson Rd.
 Littleton, CO 80127

 Formation8 Partners Fund I, L.P.                                                   10,555,554                 Series A Preferred Stock
 Pier 5
 Suite 101
 San Francisco, CA 94111

 Formation8 Partners Fund I, L.P.                                                   2,212,389                  Series B Preferred Stock
 Pier 5
 Suite 101
 San Francisco, CA 94111

 Harsha Prahlad                                                                     2,640,000                  Common Stock
 17372 NE 46th Court
 Redmond, WA 98052

 Jeffrey Key                                                                        13,541                     Common Stock
 3391 Pinnacle Drive
 San Jose, CA 95132

 Kenneth Tan                                                                        41,020                     Common Stock
 3310 Farthing Way
 San Jose, CA 95132




List of equity security holders consists of 5 total page(s)
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 In re:    Grabit, Inc.                                                                         Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Lab IX                                                                             713,533                   Common Stock
 Attn: David Bennett, Director
 c/o Flex Ltd.
 6201 America Center Drive
 San Jose, CA 95002

 Li-Tai Lee (Robert)                                                                6,666                     Common Stock
 10F., No. 6, Ln. 542, Sec. 1
 Wenhua N Rd.
 Linkou Dist.
 New Taipei City 244, Taiwan 24446

 Lindsay Wahler                                                                     17,188                    Common Stock
 1236 Buchanan Drive
 Santa Clara, CA 95051

 NIKE, Inc.                                                                         2,777,776                 Series A Preferred Stock
 Attn: Neal Osterhaus
 One Bowerman Drive
 Beaverton, OR 97005-6453

 NIKE, Inc.                                                                         1,064,767                 Series B Preferred Stock
 Attn: Neal Osterhaus
 One Bowerman Drive
 Beaverton, OR 97005-6453

 Patrick Bournes                                                                    50,000                    Common Stock
 3561 Earl Drive
 Santa Clara, CA 95051

 Rajesh Nerkar                                                                      6,666                     Common Stock
 3737 Casa Verde Street
 Apt. #348
 San Jose, CA 95134

 Robert Roy                                                                         25,000                    Common Stock
 4141 Deep Creek Road, #195
 Fremont, CA 94555

 Scott Morrill                                                                      46,666                    Common Stock
 455 W. Evelyn Avenue, #2325
 Mountain View, CA 94041

 Shanghai Electric Hong Kong Co. Ltd.                                               2,212,389                 Series B Preferred Stock
 Attn: Mr. Yinlun Lu
 7F, No. 212
 Jiang Ning Road
 Shanghai 200041, China


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 In re:    Grabit, Inc.                                                                         Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Sng Zhiwei (Joel)                                                                  555,554                   Common Stock
 34 Jalan
 Jintan S229021 Singapore

 SRI International                                                                  6,666,668                 Common Stock
 333 Ravenswood Avenue
 Menlo Park, CA 94025

 Steven Annen                                                                       82,500                    Common Stock
 1882 Walnut Drive
 Mountain View, CA 94040

 Susan Kim                                                                          39,250                    Common Stock
 17682 Burl Hollow Drive
 Riverside, CA 92504

 SVIC No. 25 New Technology Business                                                1,419,225                 Common Stock
 Investment L.L.P.
 2440 Sand Hill Road
 Suite 302
 Menlo Park, CA 94025

 Sydney J. Duncheon                                                                 200,000                   Common Stock
 c/o Charlie Duncheon
 19384 Bainter Avenue
 Los Gatos, CA 95030

 WS Investment Company, LLC                                                         60,000                    Common Stock
 Attn: Jim Terranova
 650 Page Mill Road
 Palo Alto, CA 94304

 WS Investment Company, LLC (2015A)                                                 82,964                    Series B Preferred Stock
 Attn: Jim Terranova
 650 Page Mill Road
 Palo Alto, CA 94304

 WS Investment Company, LLC (2015C)                                                 27,654                    Series B Preferred Stock
 Attn: Jim Terranova
 650 Page Mill Road
 Palo Alto, CA 94304




List of equity security holders consists of 5 total page(s)
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                                                               United States Bankruptcy Court
                                                                       District of Delaware
 In re      Grabit, Inc.                                                                                              Case No.
                                                                                    Debtor(s)                         Chapter        11

                       LIST OF EQUITY SECURITY HOLDERS
DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date December 18, 2019                                                      Signature
                                                                                            Greg Miller

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                               Chapter 11

GRABIT, INC.,1                                       Case No. __________ (___)

                          Debtor.

                             CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following are corporations, other than a governmental unit, that directly or indirectly own 10% or

more of any class of the above-captioned Debtor’s equity interests:

Formation8 Partners Fund I, L.P.
Pier 5
Suite 101
San Francisco, CA 94111

SRI International
333 Ravenswood Avenue
Menlo Park, CA 94025




         1
           The last four digits of the Debtor’s federal taxpayer identification number are 6933. The Debtor’s mailing
address is 1042 N Higley Road, #102178, Mesa, Arizona 85205.



58448/0001-16604708v1
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 Fill in this information to identify the case:

 Debtor name         Grabit, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration                Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 18, 2019                       X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Greg Miller
                                                                         Printed name

                                                                         Chief Executive Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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